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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

 ARANSAS PRINCESS CONDOMINIUM §
 ASSOCIATION INC.,            §
                              §
     Plaintiff,               §
                              §
 v.                           §                          CIVIL ACTION NO. 2:18-CV-00341
                              §
 LANDMARK           AMERICAN  §
 INSURANCE COMPANY            §
                              §
     Defendants               §
                              §
                              §
                              §


PLAINTIFF’S INITIAL DESIGNATION AND DISCLOSURE OF EXPERT WITNESSES

       COMES NOW ARANSAS PRINCESS CONDOMINIUM ASSOCIATION, INC.,

Plaintiff and pursuant to Rule 26(a)(2) of the Federal Rules of Civil Procedure, make these expert

disclosures and designations of person who may provide expert testimony pursuant to Rules 702,

703, or 705 of the Federal Rules of Evidence.

                                 I.     RETAINED EXPERTS

       1.      The following individuals are those whom Plaintiff has retained or specifically

employed to provide expert testimony at trial.

               1.     Roy R. Pachecano, AIA
                      Portico REI, LLC
                      434 King William
                      San Antonio, TX 78204




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       Attached as Exhibit A is Mr. Pachecano’s written report, which contains the facts, data and

information considered and relied upon by Mr. Pachecano the exhibits that Mr. Pachecano may

use to summarize or support his opinions, and his qualifications, publications, and statement of his

compensation. Mr. Pachecano has testified by deposition or in trial within the last four years in

the following cases: Cause No. C-5730-16-F, Hidalgo County vs. Descon, et al, in the 332nd

Judicial District Court, Hidalgo County, Texas; and Cause No. 2015CCV-6070-3, Bishop

Consolidated ISD vs. Barcom Commercial and Barcom Construction, Inc, in the County Court at

Law No. 3, Nueces County, Texas. Plaintiff incorporates herein by reference Mr. Pachecano’s

expert report including all subparts and attachments thereto, attached as Exhibit A.

               2.      Mike Krismer
                       517 Ronson Dr.
                       Corpus Christi, TX 78412

       Attached as Exhibit B is Mr. Krismer’s written report, which contains the facts, data and

information considered and relied upon by Mr. Krismer, the exhibits that Mr. Krismer may use to

summarize or support his opinions, and his qualifications, publications. Mr. Krismer’s hourly rate

is $200.00. Mr. Krismer has testified by deposition or in trial within the last four years and a list

of cases is included in Exhibit B. Plaintiff incorporates herein by reference Mr. Krismer’s expert

report including all subparts and attachments thereto, attached as Exhibit B.

               3.      Alonzo Garza
                       Baldwin Roofing Company, Inc.
                       642 Omaha Dr.
                       Corpus Christi, TX 78411

       Attached as Exhibit B is Mr. Garza’s written report, which contains the facts, data and

information considered and relied upon by Mr. Garza, the exhibits that Mr. Garza may use to

summarize or support his opinions, and his qualifications, publications. Mr. Garza’s hourly rate

is $150.00 and $200.00 for deposition/trial testimony. Mr. Garza has testified by deposition and/or

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in trial within the last four years and a list of cases is included in Exhibit B. Plaintiff incorporates

herein by reference Mr. Garza’s expert report including all subparts and attachments thereto,

attached as Exhibit B.

               4.        William R. Lackner, PE
                         Datum Engineers
                         6516 Forest Park Rd.
                         Dallas, TX 75235

       Attached as Exhibit C is Mr. Lackner’s written report, which contains the facts, data and

information considered and relied upon by Mr. Lackner, the exhibits that Mr. Lackner may use to

summarize or support his opinions, and his qualifications, publications, and statement of his

compensation. Mr. Lackner has testified by deposition or in trial within the last four years and a

list of cases is included in Exhibit C. His rate of compensation is $235 per hour. Plaintiff

incorporates herein by reference Mr. Lackner’s expert report including all subparts and

attachments thereto, attached as Exhibit C.

               5.        Stephen H. Horner, Ph.D.
                         Economic, Business & Statistical Consulting
                         P. O. Box 2685
                         Corpus Christi, TX 78403

       Attached as Exhibit D is Mr. Horner’s written report, which contains the facts, data and

information considered and relied upon by Mr. Horner, the exhibits that Mr. Horner may use to

summarize or support his opinions, and his qualifications, publications, and statement of his

compensation. Mr. Horner has testified by deposition or in trial within the last four years and a

list of cases is included in Exhibit D. Plaintiff incorporates herein by reference Mr. Horner’s expert

report including all subparts and attachments thereto, attached as Exhibit D.

               6.        Keith Adamson, CPA, CGMA
                         Adamson & Company
                         4101 S. Alameda
                         Corpus Christi, TX 78411

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        Attached as Exhibit D is Mr. Adamson’s written report, which contains the facts, data and

information considered and relied upon by Mr. Adamson, the exhibits that Mr. Adamson may use

to summarize or support his opinions, and his qualifications, publications, and statement of his

compensation. Plaintiff incorporates herein by reference Mr. Adamson’s expert report including

all subparts and attachments thereto, attached as Exhibit D.

        7.      William J. Chriss, Attorney at Law
                The Snapka Law Firm
                606 N. Carancahua, Suite 1511
                Corpus Christi, TX 78401

        Mr. Chriss’s written report, which contains the facts, data and information considered and

relied upon by Mr. Chriss, the exhibits that Mr. Chriss may use to summarize or support his

opinions will be provided within thirty days. His qualifications and publications are listed in his

CV attached hereto as Exhibit E. Mr. Chriss’s non-contingent hourly rate is $750.00. His

contingent rate of compensation and that of other firm members is higher. Mr. Chriss has not

provided deposition testimony or trial testimony in the past four years.


                               II.     NON-RETAINED EXPERTS
        2.      Plaintiff may call to testify at trial the individuals, contractors, workmen, insurance

personnel and consultants, and condominium owners listed in Plaintiff’s Rule 26 Initial

Disclosures. These individuals are not retained by, employed by or otherwise subject to the control

of Plaintiff.

        3.      Plaintiff reserves the right to elicit by way of cross-examination opinion testimony

from any and all experts designated and called by Defendants. Plaintiff hereby expresses its

intention to possibly call any witnesses associated with adverse parties including the experts of

Defendants.

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        4.      Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose

testimony cannot reasonably be foreseen until the presentation of the evidence by Defendants.

        5.      Plaintiff reserves the right to withdraw the designation of any expert and to aver

positively that any such previously designated expert will not be called as a witness at trial and to

re-designate same as a consulting expert, who cannot be called by opposing counsel.

        6.      Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at

the time of trial which would be truthful, which would be of benefit to the jury to determine

material issues of fact, and which would not violate a Court Order or the Federal Rules of Civil

Procedure.

        7.      Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

witnesses associated with adverse parties, all parties to this suit and all experts designated by any

party to this suit, even if the designating party is not a party to the suit at the time of trial. In the

event a present or future party designates an expert, but then is dismissed for any reason from the

suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

such party or any such experts previously designated by any party.

        8.      Plaintiff reserves the right to supplement this designation with additional

designations of experts within the time limits imposed by the court or any alterations of same by

subsequent court order or agreement of the parties, or pursuant to the Federal Rules of Civil

Procedure and/or the Federal Rules of Civil Evidence.




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                                               Respectfully submitted,

                                               THE SNAPKA LAW FIRM
                                               606 N. Carancahua, Suite 1511
                                               P.O. Box 23017
                                               Corpus Christi, Texas 78403
                                               Telephone: (361) 888-7676
                                               Facsimile: (361) 884-8545

                                               /s/ William J. Chriss
                                               William J. Chriss
                                               State Bar No. 04222100
                                               Email: wjchrisspc@gmail.com
                                               Kathryn Snapka
                                               State Bar No. 18781200
                                               Email: ksnapka@snapkalaw.com
                                               ATTORNEYS FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

        This is to certify that, on March 1, 2019, a true and correct copy of the foregoing was served
on all counsel of record in accordance with the Federal Rules of Civil Procedure as follows:

Jay W. Brown
jbrown@winstead.com
Bruce R. Wilkin
bwilkin@winstead.com
WINSTEAD PC
600 Travis Street, Suite 5200
Houston, Texas 77002
ATTORNEYS FOR DEFENDANT


                                               /s/ William J. Chriss
                                               William J. Chriss
                                               Attorney-In-Charge




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